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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            WESTERN DIVISION



NATIONAL INSTITUTE OF FAMILY              )
AND LIFE ADVOCATES, et al.,               )
                                          )
            Plaintiffs,                   )
                                          )
                                          )
            v.                            )
                                          )       No. 16 CV 50310
                                          )
MARIO TRETO JR.,                          )       Judge Iain D. Johnston
                                          )
                                          )       Magistrate Judge Lisa A. Jensen
            Defendant.                    )
__________________________________________)
                                          )
RONALD SCHROEDER, et al.,                 )
                                          )       No. 17 CV 4663
            Plaintiffs                    )
                                          )       Judge Iain D. Johnston
            v.                            )
                                          )       Magistrate Judge Lisa A. Jensen
MARIO TRETO JR.,                          )
                                          )
            Defendant.                    )


             NIFLA PLAINTIFFS’ MOTION FOR JUDICIAL NOTICE
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          Plaintiffs National Institute of Family and Life Advocates, Informed Choices, TLC

Pregnancy Services, and Mosaic Pregnancy and Health Centers (collectively, the “NIFLA

Plaintiffs”) respectfully move this Court to take judicial notice of NIFLA Exhibits 19 through 26

and 33.

          NIFLA Exhibits 20 through 25 are the results of a Google search for “abortion in Illinois”

performed by NIFLA Plaintiffs’ attorney Julia C. Payne. Defendant objects that these exhibits are

inadmissible hearsay and lack authentication. But NIFLA Plaintiffs do not wish to introduce these

exhibits to “prove the truth of the matter asserted” in the Google search results. Fed. R. Evid.

801(c)(2). Instead, NIFLA Plaintiffs ask this Court to take judicial notice of these exhibits merely

to show “that internet research can quickly and easily” provide Illinois women “with useful

information” about abortion and abortion providers. DR Distributors, LLC v. 21 Century Smoking,

Inc., 513 F. Supp. 3d 839, 868 & n.10 (N.D. Ill. 2021). And the attached declaration from attorney

Julia C. Payne is sufficient to authenticate the search and its results.

          NIFLA Exhibits 19, 26, and 33 are government websites containing public records and

vital statistics. Defendant objects to Exhibit 19 on relevance grounds, to Exhibits 26, and 33 on

hearsay grounds, and to Exhibit 33 on the basis of Rule 702. First, Exhibit 19, which includes

statistics on Illinois public libraries, is relevant to the extent that Defendant argues that women
seeking abortion do not have internet access because it states that 97.34% of Illinois public libraries

have computer workstations with internet access for public use. Second, Rule 803 specifically

exempts public records and vital statistics—such as Exhibit 26, which includes abortion statistics

from the Illinois Department of Public Health, and Exhibit 33, which includes statistics from the

Center for Disease Control—from the prohibition on hearsay. Fed. R. Evid. 803(8)–(9). Finally, it

is unclear how Rule 702, which governs testimony by expert witnesses, would affect the Court’s

ability to “take judicial notice of official publications on government websites,” Streight v.

Pritzker, No. 3:21-cv-50339, 2021 WL 4306146, at *3 (N.D. Ill. Sept. 22, 2021).

          For these reasons, this Court should take judicial notice of NIFLA Exhibits 19 through 26

and 33.


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   RESPECTFULLY SUBMITTED this 15th day of September, 2023.

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                                         **Motion for pro hac vice admission pending



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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2023, I electronically filed the foregoing paper with
the Clerk of Court by using the ECF system which will send notification of such filing to the
following:



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                                                            s/ Kevin H. Theriot
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